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             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                           )
TIKTOK INC.,                               )
and                                        )
                                           )
BYTEDANCE LTD.,                            )
                                           )
                              Petitioners, )
                                           )   No. 24-1113
       v.                                  )
MERRICK B. GARLAND, in his                 )
official capacity as Attorney General of )
the United States,                         )
                                           )
                             Respondent. )
                                           )
                                           )
BRIAN FIREBAUGH, CHLOE JOY                 )
SEXTON, TALIA CADET, TIMOTHY )
MARTIN, KIERA SPANN, PAUL                  )
TRAN, CHRISTOPHER TOWNSEND, )
and STEVEN KING,                           )
                                           )   No. 24-1130
                           Petitioners,
                                           )
       v.                                  )
                                           )
MERRICK B. GARLAND, in his                 )
capacity as United States Attorney         )
General,                                   )
                                           )
                           Respondent. )
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   CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES OF
                     USER PETITIONERS

      Pursuant to Circuit Rules 27(a)(4) and 28(a)(1)(A) and to this Court’s May

7, 2024, Order, Doc. No. 2053219, Petitioners Brian Firebaugh, Chloe Joy Sexton,

Talia Cadet, Timothy Martin, Kiera Spann, Paul Tran, Christopher Townsend, and

Steven King (“User Petitioners”) certify as follows.

      Parties and Amici: The parties to Firebaugh v. Garland, No. 24-1130, are

the User Petitioners and Respondent Merrick B. Garland, in his official capacity as

Attorney General of the United States. The parties to the consolidated case, TikTok

Inc. v. Garland, No. 24-1113, are Petitioners TikTok Inc. and ByteDance Ltd., and

Respondent Garland, again in his official capacity as Attorney General of the United

States. No amicus curiae has appeared in either action. Because these petitions were

filed directly in this Court, there were no district-court proceedings in either case.

      Rulings Under Review: These petitions seek direct review of whether the

Protecting Americans from Foreign Adversary Controlled Applications Act (H.R.

815, div. H, 118th Cong., Pub. L. No. 118-50 (April 24, 2024)) is constitutional.

There are no prior rulings under review.

      Related Cases: These petitions were not previously before this Court or any

other court, nor is counsel for the User Petitioners aware of any other case pending

before this or any other court that is related to this petition within the meaning of



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Circuit Rule 28(a)(1)(C).

Dated:     May 17, 2024

 DAVIS WRIGHT TREMAINE LLP

 By: /s/ Ambika Kumar
       Ambika Kumar

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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the District of Columbia Circuit by

using the appellate CM/ECF system on May 17, 2024.

      I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the appellate CM/ECF system.

DATED: May 17, 2024                                 Respectfully submitted,


                                                    /s/ Ambika Kumar
                                                    Ambika Kumar

                                                    Counsel for Petitioners




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